      Case 5:17-cv-00333-DSF-SP Document 24 Filed 06/13/17 Page 1 of 1 Page ID #:105




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER:
CHRISTOPHER TAULBEE
                                                                                5:17-CV-00333 DSF (DTB)
                                                Plaintiff(s)
                             v.

COUNTY OF RIVERSIDE ET AL                                             MINUTES OF PRISONER SETTLEMENT
                                               Defendant(s)
                                                                               PROCEEDING



A settlement proceeding was held in this case on June 13, 2017                    .

This proceeding lasted for        1     hours and    30        minutes.

The outcome of this proceeding was:

                 ✔   The case has been completely settled.

                     The parties agree to an additional follow-up settlement proceeding.

                     The parties are unable to reach an agreement at this time.

                     Other:




                                                                          Clerk, U.S. District Court
 Dated:          June 13, 2017

                                                                          By:             D. BUNNELL
                                                                                Deputy Clerk




ADR-06 (11/15)                        MINUTES OF PRISONER SETTLEMENT PROCEEDING                           Page 1 of 1
